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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

SHERMAN B. CRUTCHER, Civil No. 3:21-cv-287
Petitioner . (Judge Mariani)
V.
| ; FILED “
E. BRADLEY, WARDEN, . SCRANTO
oct 13 2021
Respondent

 

 

   

AND NOW, this & ? day of October, 2021, upon consideration of the petition for
writ of habeas corpus pursuant to 28 U.S.C. § 2241, and for the reasons set forth in the
accompanying Memorandum, IT IS HEREBY ORDERED THAT:

1, The petition for writ of habeas corpus is DISMISSED. (Doc. 1).

2. The Clerk of Court is directed to CLOSE this case.

   

Robert D=Mariant
United States District Judge

   

COEZN.

 
